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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION                                                      MDL No. 3108


                                      TRANSFER ORDER


         Before the Panel: ∗ Plaintiffs in four actions pending in the Middle District of Tennessee
move under 28 U.S.C. § 1407 to centralize this litigation in the Middle District of Tennessee. The
litigation consists of six actions pending in two districts, as listed on Schedule A. Since the filing
of the motion, the Panel has been notified of 44 related actions pending in an additional ten
districts. 1 All actions on the motion are brought on behalf of persons whose personally identifiable
information and protected health information (“private information”) were compromised in a
cyberattack on the systems of defendants Change Healthcare, Inc., UnitedHealth Group
Incorporated, UnitedHealthcare, Inc., and Optum, Inc. (together, Change Healthcare) announced
February 21, 2024. Thirteen of the 43 potential tag-along actions also are brought on behalf of
such individuals; the other 30 are brought by physicians, hospitals, and other healthcare providers
whose ability to submit insurance claims and receive payments were disrupted by the cyberattack
and the ensuing lockdown of Change Healthcare’s systems.

        Defendants and plaintiffs in sixteen actions support the motion. Plaintiff in the Middle
District of Tennessee Mt. Rainier Emergency Physicians potential tag-along action supports
centralization of the health care provider actions but opposes inclusion of actions brought by
individual consumers affected by the data breach. Plaintiff in the District of Minnesota Only
Choice potential tag-along action supports centralization of the consumer actions in the Middle
District of Tennessee but requests that the healthcare provider actions be centralized separately in
the District of Minnesota. Plaintiffs in the Eastern District of Louisiana Diagnostic and
Interventional Spinal Care potential tag-along action suggest centralization in the Eastern District
of Louisiana. Defendant HealthFirst, Inc., in the Middle District of Tennessee Lemke potential
tag-along action opposes inclusion of the claims against HealthFirst in any MDL but takes no
position with respect to centralization of other claims or actions.



∗ One or more Panel members who could be members of the putative classes in this litigation have

renounced their participation in these classes and have participated in this decision.
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  These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1
and 7.2.
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         On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact and that centralization in the District of Minnesota will serve
the convenience of the parties and witnesses and promote the just and efficient conduct of this
litigation. The actions share common questions of fact arising from allegations that Change
Healthcare failed to take adequate measures to prevent and address the consequences of the
cyberattack on its network announced in February 2024, which exposed the private information of
millions of individuals and severely disrupted the ability of physicians, pharmacies, and other
healthcare providers to use Change Healthcare’s digital platform to access insurance information,
fill prescriptions, submit insurance claims, and receive payment for services provided to patients.
Plaintiffs seek certification of overlapping nationwide and statewide class actions of individuals
and healthcare providers, and assert virtually identical claims for negligence, negligence per se,
breach of contract or implied contract, unjust enrichment, and violation of state consumer
protection laws.
        Discovery in all actions will focus on how Change Healthcare’s system was breached, what
security measures Change Healthcare had in place, and the measures taken after the data breach
was discovered to notify those impacted and to restore healthcare providers’ access to insurance
and other information stored in the Change Healthcare platform. Centralization will avoid the
possibility of inconsistent pretrial rulings, particularly with respect to class certification. With a
total of 50 actions pending in twelve districts and dozens of involved plaintiffs’ counsel,
centralization will serve the convenience of the parties and witnesses, and conserve judicial
resources.
        Plaintiffs in the Middle District of Tennessee Mt. Rainier Emergency Physicians and
District of Minnesota Only Choice potential tag-along actions support centralization of the
healthcare provider actions but argue that the consumer actions should be excluded from the MDL
or centralized in a separate MDL. They maintain that the two types of actions will involve different
legal theories and few, if any, common issues of fact. This argument is not convincing. While the
consumer and healthcare provider plaintiffs to some extent allege different harms, their claims all
arise from the same data breach, and all will involve discovery as to the circumstances and
consequences of that breach. Many of the consumer plaintiffs claim injury both from the
disclosure of their private information and from their inability to fill prescriptions following the
cyberattack and thus—like the healthcare provider actions—will involve discovery regarding the
lockdown of Change’s systems that interrupted the flow of insurance claims and payments. The
legal claims asserted in all cases overlap extensively as well. To the extent discovery in different
groups of cases does not overlap, “[t]he transferee court may employ any number of pretrial
techniques—such as establishing separate discovery and motion tracks—to manage th[e] litigation
efficiently.” In re Home Depot, Inc., Customer Data Sec. Breach Litig., 65 F. Supp. 3d 1398, 1400
(J.P.M.L. 2014). 2


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   Defendant Healthfirst is named only in the Middle District of Tennessee Lemke potential tag-
along action, which asserts an unjust enrichment claim against HealthFirst for rejecting insurance
claims that were not timely filed because of the Change Healthcare security breach. Plaintiffs in
                                                                         (footnote continued . . .)
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         The District of Minnesota, where eight actions are pending, is an appropriate transferee
district for this litigation. Defendant UnitedHealth Group Inc.—the corporate parent of Change
Healthcare Inc.—as well as defendants UnitedHealthcare, Inc., and Optum, Inc., are headquartered
in Minnesota, and much of the relevant evidence will be found there. We assign the litigation to
Judge Donovan W. Frank, a skilled jurist and experienced transferee judge. We are confident that
he will steer this matter on an efficient and prudent course.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the District of Minnesota are transferred to the District of Minnesota and, with the consent of that
court, assigned to the Honorable Donovan W. Frank for coordinated or consolidated pretrial
proceedings.


                                          PANEL ON MULTIDISTRICT LITIGATION




                                                          Karen K. Caldwell
                                                              Chair


                                      Nathaniel M. Gorton                Matthew F. Kennelly
                                      David C. Norton                    Roger T. Benitez
                                      Dale A. Kimball                    Madeline Cox Arleo




Lemke seek certification of a “stale claims” class of healthcare providers whose claims were
rejected as untimely and to have HealthFirst appointed as the representative of a defendant class
of insurance companies. The question whether the claims against HealthFirst should be included
in the MDL will be addressed via the conditional transfer order process. See Panel Rule 7.1.
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IN RE: CHANGE HEALTHCARE, INC., CUSTOMER
DATA SECURITY BREACH LITIGATION                               MDL No. 3108


                                   SCHEDULE A

                 District of Minnesota

     KERIAZIS v. UNITEDHEALTH GROUP INCORPORATED, ET AL.,
          C.A. No. 0:24−00751
     MACKEY v. UNITEDHEALTH GROUP INCORPORATED, ET AL.,
          C.A. No. 0:24−00771

                 Middle District of Tennessee

     MERRY v. CHANGE HEALTHCARE INC., C.A. No. 3:24−00239
     REESE v. CHANGE HEALTHCARE INC., C.A. No. 3:24−00240
     STUMP v. CHANGE HEALTHCARE, INC., C.A. No. 3:24−00255
     ALLEN v. CHANGE HEALTHCARE, INC., C.A. No. 3:24−00263
